                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION


UNITED STATES OF AMERICA




                                                                                       s
                                                                               OCT 8 - 2019
                                                                            Clerk, U.S. District Court
                                                                                 Texas Eastern
                                       INDICTMENT


THE UNITED STATES GRAND JURY CHARGES:

                                        Count One

                                                Violation: 21 U.S.C. § 841(a)(1) and 18
                                                U.S.C. § 2 (Possession with the Intent to
                                                Distribute and Distribution of Controlled
                                                Substances Resulting in Death and Aiding
                                                and Abetting)

         In or about December 2018, in the Eastern District of Texas and elsewhere, the

do fondants. | ¦                 and ' . - -- | aided and nhcllcd by oaoli


other did knowingly and intentionally possess with intent to distribute and distribute a

mixture or substance containing a detectible amount of Alprazolam and N-phenyl-N-[l-(2-

phenylethyl)-4-piperidinyl]propanamide (Fentanyl), and the death of R.J.P. on or about

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December 28, 2018, resulted from the use of Alprazolam and Fentanyl distributed by the

defendants in violation of 21 U.S.C. § 841.

         In violation of 21 U.S.C. § 841 and 18 U.S.C. § 2.

                                            Count Two

                                                  Violation: 21 U.S.C. § 846
                                                  (Conspiracy to Distribute and Possess
                                                  with the Intent to Distribute a Controlled
                                                  Substance)

         That from sometime in or about 2014, and continuously thereafter up to and

including the date of this Indictment, in the Eastern District of Texas and elsewhere, BH




knowingly and intentionally combine, conspire, and agree with each other and other

persons known and unknown to the United States Grand Jury, to knowingly and

intentionally distribute and possess with the intent to distribute a mixture or substance

containing a detectible amount of Alprazolam, Oxycodone, Amphetamine (Adderall),

Cocaine, and N-phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]propanamide (Fentanyl), in

violation of 21 U.S.C. § 841(a)(1).

         In violation of 21 U.S.C. § 846.

                                        Count Three

                                                  Violation: 18 U.S.C. § 3
                                                  (Accessory after the Fact)

         In or about December 2018, in the Eastern District of Texas, the defendant, Frank

Eric Dockery, knowing that an offense against the United States had been committed, to

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wit, possession with intent to distribute a mixture o substance containing a etectible

amount of Alprazolam and N-plienyI-N-[l-(2-phenylethyl)-4-piperidinyl]propanamide

(Fentanyl), by co-defendant, as charged in Count One of this Indictment, did

receive, relieve, comfort, and assist in order to hinder and prevent his

prosecution, apprehension, trial, and punishment, in violation of 18 U.S.C. § 3.

                                          Count Four

                                                   Violation: 18 U.S.C. § 4
                                                   (Misprison of a Felony)

         In or about December 2018, in the Eastern District of Texas and elsewhere, Frank

Eric Dockery, having knowledge of the actual commission of a felony cognizable by a

court of the United States, to-wit, possession with intent to distribute a mixture or substance

containing a detectible amount of Alprazolam and N-phenyl-N-[l-(2-phenylethyl)-4-

piperidiny 1]propanamide (Fentanyl), in violation of 21 U.S.C. § 841, did conceal the same

by failing to report the criminal activity and did not make known this fact as soon as

possible to a judge or other person in a position of authority under the United States.

         In violation of 18 U.S.C. § 4.

                                          Count Five

                                                   Violation: 21 U.S.C. § 841(a)(1) and
                                                   18 U.S.C. § 2 (Possession with the Intent
                                                   to Distribute and Distribution of
                                                   Controlled Substances and Aiding and
                                                  Abetting)

         That from sometime in or about 2014, and continuously thereafter up to and

including the date of this Indictment,


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Frank Eric Dockery,

                                 and                    aided and abetted by each other did

k owingly and intentionally possess with intent to distribute and distribute a mixture or

substance containing a detectible amount of Alprazolam, Oxycodone, Cocaine, and N-

phenyl-N-[l-(2-phenylethyl)-4-piperidinyl]propanamide (Fentanyl), in violation of 21

U.S.C. § 841.


         In violation of 21 U.S.C. § 841 and 18 U.S.C. § 2.

                                          Count Six

                                                  Violation: 18 U.S.C. § 924(c)
                                                  (Possession of a Firearm in Furtherance
                                                  of a Drug Trafficking Crime)

         On or about March 26, 2019, in the Easte         District of Texas,

defendant, did knowingly possess firearms, namely a Remington Shotgun serial number

RS40408 and a Mossberg .22 Rifle serial number 13507727, in furtherance of a drug

trafficking crime for which he may be prosecuted in a Court of the United States, to wit:

possession with intent to distribute a mixture or substance containing a detectible amount

of Alprazolam, Oxycodone, Amphetamine (Adderall), Cocaine, and N-phenyI-N-[l-(2-

phenylethyl)-4-piperidinyl]propanamide (Fentanyl), a violation of 21 U.S.C. § 841(a)(1).

         In violation of 18 U.S.C. § 924(c).




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                                         Count Seven

                                                   Violation: 18 U.S.C. § 924(c)
                                                   (Possessio of a Firearm in Furtherance
                                                   of a Dr g Trafficking Crime)

         That from sometime in or about 2017, and continuously thereafter up to and

including the date of this Indictment, in the Eastern District of Texas, Frank Eric Dockery,

defendant, did knowingly possess a firearm in furtherance of a drug trafficking crime for

which he may be prosecuted in a Court of the United States, to wit: possession with intent

to distribute a mixture or substance containing a detectible amount of Alprazolam,

Oxycodone, Amphetamine (Adderall), Cocaine, and N-phenyl-N-[l-(2-phenylethyl)-4-

piperidinyl]propanamide (Fentanyl), a violation of 21 U.S.C. § 841(a)(1).

         In violation of 18 U.S.C. § 924(c).


             NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE
                        Criminal Forfeiture Pursuant to 21 U.S.C. $ 853

         As a result of committing the offenses charged in this Indictment, the defendants

shall forfeit to the United States, pursuant to 21 U.S.C. § 853, all property, real and

personal, involved in the offenses alleged or traceable to such property, and all property,

real or personal, used to commit or facilitate the offenses alleged, including, but not limited

to, the following:


Firearms


         Remington Shotgun serial number RS40408; and
         Mossberg .22 Rifle serial number 13507727.




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Substitute Assets

         If any of the property described above as being subject to forfeiture, as a result of
         any act or omission of any defendant -

                (a) cannot be located upon the exercise of due diligence;
                (b) has been transferred or sold to, or deposited with a third person;
                (c) has been placed beyond the jurisdiction of the court;
                (d) has been substantially diminished in value; or
                (e) has been commingled with other property which cannot be subdivided
                        without difficulty;

it is the intent of the United States, pursuant to 18 U.S.C. § 982(a)(4), to seek forfeiture of
any other property of each defendant up to the value of the above forfeitable property,
including but not limited to all property, both real and personal owned by each defendant.

         By virtue of the commission of the offenses alleged in this Indictment, any and all

interest that each defendant has in the above-described property is vested in and hereby

forfeited to the United States.


                                                   A TRUE BILL




                                                   GRAND JURY FOREPERSON

JOSEPH D. BROWN
UNITED STATES ATTORNEY




JAY R. COMBS Date
Assistant United States Attorney




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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

UNITED STATES OF AMERICA § SEALED
                                             §
v.         §       NO.            4:19CR




                                 NOTICE OF PENALTIES

                                       Count One

Violation: 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2

Penalty: If death or serious bodily injury resulted from the uses of such substance
               then a term of imprisonment of not less than 20 years or more than life, a
               fine not to exceed $5,000,000 or both. A term of supervised release of at
               least five (5) years.

Special Assessment: $ 100.00

                                       Count T o

Violation: 21 U.S.C § 846

Penalty: A term of imprisonment of not more than 20 years imprisonment, a fine not
             to exceed $1,000,000.00 or both; supervised release of at least three years;

Special Assessment: $100.00




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                                      Count Three

Violation: 18U.S.C. §3

Penalty: A term of imprisonment of not more than 15 years, a fine not to exceed
              $2,500,000, or both. A term of supervised release of at least three (3)
                  years.


Special Assessment: $ 100.00



                                       Count Four

Violation: 18U.S.C. §4

Penalty: Not more than 3 years, a fine not to exceed $250,000, or both. A teim of
              supervised release of not more than one (1) year.

Special Assessment: $ 100.00



                                       Count Five

Violation: 21 U.S.C. § 841(a)(1) and 18 U.S.C. § 2

Penalty: A term of imp isonment of not more than 20 years imprisonment, a fine not
             to exceed $1,000,000.00 or both; supervised release of at least three years;

Special Assessment: $100.00


                                 Counts Six and Seven

Violation: 18 U.S.C. § 924(c)

Penalty: Imprison ent for not less than 5 years o more than life, which
            imprisonment must be consecutive to any other sentence imposed for the
            drug trafficking crime during which the firearm was ossessed, a fine not to
            exceed $250,000.00 or both. A te m of supervised release of not more
            than 3 years.

Special Assessment: $ 100.00


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